Case 3:21-cv-01026-MMH-MCR Document 151 Filed 08/31/23 Page 1 of 3 PageID 1667




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

     JATOON MOSS, as Personal
     Representative for the Estate of
     Craig Ridley, on behalf of the Estate
     and Survivors Jatoon Moss and
     Gary Ridley,

                 Plaintiff,

     v.                                      Case No. 3:21-cv-1026-MMH-MCR

     RICKY DIXON, in his official
     capacity as Secretary of the Florida
     Department of Corrections, et al.,

                 Defendants.
                                        /

                                       ORDER

           THIS CAUSE came before the Court on August 31, 2023, for a hearing

     on the Joint Motion to Modify Scheduling Order and Incorporated

     Memorandum of Law (Dkt. No. 147). For the reasons stated on the record

     during the hearing, it is

           ORDERED:

           1.    The Joint Motion to Modify Scheduling Order and Incorporated

                 Memorandum of Law (Dkt. No. 147) is GRANTED, in part, and

                 DENIED without prejudice, in part.
Case 3:21-cv-01026-MMH-MCR Document 151 Filed 08/31/23 Page 2 of 3 PageID 1668




           2.     The Motion is GRANTED to the extent that the case management

                  deadlines are extended as follows:

      Deadline for disclosing expert reports.

                                                   Plaintiff:       NOVEMBER 9, 2023
                                                  Defendant:       DECEMBER 15, 2023
                                                   Rebuttal:         JANUARY 16, 2024

      Deadline for completing discovery and filing                      APRIL 1, 2024
      motions to compel.
      Deadline for filing dispositive and Daubert                       MAY 15, 2024
      motions (responses due 21 days after service).
      Mediation                                       Deadline:        APRIL 10, 2024
                                                      Mediator:        NOTICE DUE
                                                       Address:     JANUARY 10, 2024

                                                  Telephone:

      Deadline for filing all other motions including              OCTOBER 15, 2024
      motions in limine.
      Deadline for filing the joint final pretrial                NOVEMBER 8, 2024
      statement.
      Date and time of the final pretrial conference.             NOVEMBER 18, 2024
                                                                         10:00 A.M.
      Trial Term Begins                                            DECEMBER 2, 2024
                                                                          9:00 A.M.
      Estimated Length of Trial                                           10 DAYS
      Jury/Non-Jury                                                            JURY




                                                -2-
Case 3:21-cv-01026-MMH-MCR Document 151 Filed 08/31/23 Page 3 of 3 PageID 1669




               3. Otherwise, the Motion is DENIED without prejudice.

             DONE AND ORDERED in Jacksonville, Florida this 31st day of August,

     2023.




     ja

     Copies to:

     Counsel of Record




                                         -3-
